    Case 7:19-cv-03174-NSR-PED Document 21 Filed 10/19/20 Page 1 of --1 - ----                     - _- --- I
                                                                     ·,.
                                                                      I



                                                                                                       ..
                                                                                                      • I   I




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                               10\tO\J~~ :
------------------------------------------------------------X                                                   ~




JANICE ARNDT,
                                   Plaintiff,                              19 CIVIL 3174 (NSR)(PED)

                 -against-                                                      JUDGMENT

COMMISSIONER OF SOCIAL SECURITY,
                    Defendant.
-----------------------------------------------------------X



        It is hereby   ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Order dated October 16, 2020, the Court finds no clear error and adopts MJ

Davison's R & R in its entirety. Defendant's motion for judgment on the pleadings is DENIED

and the matter is REMANDED to the agency for further proceeding consistent with the R & R;

accordingly, the case is closed.

Dated: New York, New York
       October 19, 2020


                                                                     RUBY J. KRAJICK

                                                                           Clerk of Court
                                                               BY:

                                                                           Deputy Clerk
